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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 94, Motion to Continue Sentencing by Isreal

Travis Bishop. A teleconference was held on June 21, 2006. As stated during the hearing, the

sentencing of Mr. Bishop is hereby continued until July 27, 2006, to 2:30 p.m.



       DONE AND ORDERED this 22nd day of June, 2006


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
